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                   IN THE UNITED STATES DISTRICT COURT
                       Northern DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Gerald A. Walsh,                                   Case No. 1:17-cv-3483
                                                   Honorable John J. Tharp, Jr.
             Plaintiff,

v.
                                                        STIPULATION TO DISMISS
                                                         ENTIRE ACTION WITH
Ocwen Loan Servicing, LLC,
                                                              PREJUDICE

          Defendant.
__________________________________________________________________

     STIPULATION TO DISMISS ENTIRE ACTION WITH PREJUDICE

        The Plaintiff, Gerald A. Walsh (“Plaintiff”), and Defendant, OCWEN LOAN
SERVICING, LLC (“Defendant”) (jointly the “Parties”), hereby move this
Honorable Court to dismiss the above-entitled action with prejudice. In support of
this joint motion, the Parties state as follows:
1.     The Parties have reached a settlement in this action;
2.     The Parties to this litigation have jointly entered into this Stipulation;
3.     Defendant, without acknowledging liability or wrongdoing, and Plaintiff,
       without acknowledging liability or wrongdoing, have agreed to fully and
       completely settle this matter;
4.     The Parties are to bear their own fees and costs;
5.     The settlement between Plaintiff and Defendant is memorialized in a written
       settlement agreement, now fully executed by Plaintiff and the Defendant; and
6.     The Parties agree that this Court may proceed to dismiss this action in its
       entirety with prejudice as to Plaintiff’s individual claims, pursuant to Fed. R.
       Civ. P. 41(a)(1)(A)(ii).


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       WHEREFORE, the Parties jointly move this Court to dismiss the above-
captioned action with prejudice.


Dated: October 24, 2018               HYDE & SWIGART

                                      By:     /s Anthony Chester
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Dated: October 24, 2018               HINSHAW & CULBERTSON LLP

                                      By:     /s Jennifer W. Weller
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